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                           IN THE UNITED STATES DISTRICT COURT
                                  DISTRICT OF MARYLAND
                                    SOUTHERN DIVISION

DEANN WALTER,                                   )
5138 Dartmoor Place,                            )
Frederick, Maryland 21703,                      )
an individual,                                  )       Case No.:
                                                )
              Plaintiff,                        )
                                                )
v.                                              )
                                                )
USRP I, LLC,                                    )
505 Quince Orchard Road,                        )
Gaithersburg, Maryland 20878,                   )
a Delaware Limited Liability Company,           )
                                                )
              Defendant.                        )

                                          COMPLAINT

       Plaintiff, DEANN WALTER (“MS. WALTER”), an individual, by and through her

undersigned counsel, hereby files this Complaint and sues the Defendant, USRP I, LLC,

(“Defendant”), a Delaware Limited Liability Company, for injunctive relief, attorneys’ fees and

costs pursuant to 42 U.S.C. §§ 12181 et seq., (“Americans with Disabilities Act” or “ADA”) and

states as follows:

                                JURISDICTION AND PARTIES

       1.       This is an action for declaratory and injunctive relief pursuant to Title III of the

Americans with Disabilities Act, 42 U.S.C. §§ 12181, et seq., (the “ADA”). This Court is vested

with original jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1343.

       2.       Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b) and Rule 501,

Local Rules of the United States District Court for the District of Maryland.

       3.       MS. WALTER is a resident of the State of Maryland.

       4.       MS. WALTER suffers from Multiple Sclerosis (MS) and is disabled. MS.
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WALTER’s disability, at all times material hereto, impairs her ability to walk, a major life

activity, and requires her to use a scooter and/or cane to ambulate safely1.

           5.      Due to her disability, MS. WALTER is substantially impaired in several major

life activities.

           6.      The Defendant, USRP I, LLC, is a Delaware Limited Liability Company. Upon

reasonable belief, Defendant is the record owner, lessor, and/or operator of the place of public

accommodation including the real property and improvements which are the subject of this

action, to wit: “the Property,” known as Firstfield Shopping Center, located generally at 505

Quince Orchard Road, Gaithersburg, Maryland 20878.                       The Defendant is responsible for

complying with the obligations of the ADA.

           7.      All events giving rise to this lawsuit occurred in the District of Maryland.

                                            COUNT I
                               (VIOLATION OF TITLE III OF THE ADA)

           8.      The allegations set forth in the foregoing paragraphs are incorporated by reference

as if fully set forth herein.

           9.      The Property, a shopping center, is a place of public accommodation, subject to

the ADA, generally located at 505 Quince Orchard Road, Gaithersburg, Maryland 20878.

           10.     MS. WALTER has visited the Property and plans to return to the Property in the

near future.

           11.     During her visits, MS. WALTER experienced serious difficulty accessing the

goods and utilizing the services at the Property due to the architectural barriers discussed herein.

           12.      MS. WALTER continues to desire to visit the Property, but fears that she will


1
    MS. WALTER is capable of walking short distances without the help of aid scooter.

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encounter serious difficulty due to the barriers discussed herein which still exist.

       13.       MS. WALTER plans to and will visit the Property in the near future to utilize the

goods and services offered thereon.

       14.      Defendant has discriminated and continues to discriminate against MS. WALTER

in violation of 42 U.S.C. §§ 12181 et seq. and 28 C.F.R. §§ 36.302 et seq. by excluding and/or

denying MS. WALTER the benefits of the goods and services located on the Property by failing

to provide and/or correct, inter alia, the following barriers to access which were personally

observed and encountered by MS. WALTER, and which hindered her access:

             A. Plaintiff encountered inaccessible parking throughout the Property due to

                failure to provide signage designating accessible parking;

             B. Plaintiff encountered inaccessible parking designated as accessible

                throughout the Property due to excessive slopes;

             C. Plaintiff encountered inaccessible routes throughout the Property due to

                excessive slopes;

             D. Plaintiff encountered inaccessible sidewalks throughout the Property due to

                excessive cross slopes;

             E. Plaintiff encountered an inaccessible curb ramp due to excessively steep

                long slopes and excessive cross slopes near Einstein Bros Bagels;

             F. Plaintiff encountered an inaccessible curb ramp due to excessively steep

                long slopes and excessive cross slopes near First Field Beer and Wine; and

             G. Plaintiff encountered an inaccessible entrance due to a lack of level landing



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               at First Field Beer and Wine.

       15.     To date, the readily achievable barriers and other violations of the ADA still exist

and have not been remedied or altered in such a way as to effectuate compliance with the

provisions of the ADA.

       16.     Independent of her intent to return as a patron of the Property, MS. WALTER

additionally intends to return to the Property as an ADA tester to determine whether the barriers

to access stated herein have been remedied.

       17.     Removal of the barriers to access located on the Property is readily achievable,

reasonably feasible and easily accomplishable without placing an undue burden on the

Defendant.

       18.     Removal of the barriers to access located on the Property would allow MS.

WALTER to fully utilize the goods and services located therein.

       19.     MS. WALTER has been obligated to retain the undersigned counsel for the filing

and prosecution of this action. MS. WALTER is entitled to have her reasonable attorneys’ fees,

costs, and expenses paid by Defendant pursuant to 42 U.S.C. § 12205.

                                    PRAYER FOR RELIEF

       WHEREFORE, MS. WALTER demands judgment against Defendant and requests the

following injunctive and declaratory relief:

                   A. That the Court declare that the Property owned, administered

                       and/or operated by Defendant is in violation of the ADA;

                   B. That the Court enter an Order directing Defendant to alter its

                       facilities to make them accessible to and useable by individuals


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         with disabilities to the full extent required by Title III of the ADA;

      C. That the Court enter an Order directing Defendant to evaluate and

         neutralize its policies and procedures towards persons with

         disabilities and to undertake and complete corrective procedures to

         the full extent required by the Title III of the ADA;

      D. That the Court award reasonable attorneys’ fees, costs (including

         expert fees), and other expenses of suit, to MS. WALTER; and

      E. That the Court award such other and further relief as it deems

         necessary, just and proper.

                            Respectfully Submitted,


                                KU & MUSSMAN, P.A.
                                12550 Biscayne Blvd., Suite 406
                                Miami, Florida 33181
                                Tel: (305) 891-1322
                                Fax: (305) 891-4512
                                Attorneys for Plaintiff

                                /s/ Robert King
                                Robert King, Esq. (MD 07156)
                                King & Silverman Attorneys at Law
                                3470 Olney Laytonsville Rd.
                                Suite 33
                                Olney, MD 20832
                                Tel: (301) 774-5999
                                Fax: (301) 774-5997
                                bobking@silverkinglaw.com




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